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  7                        UNITED STATES DISTRICT COURT
  8
                          CENTRAL DISTRICT OF CALIFORNIA
  9

 10   COVVES, LLC,                            Case No. 2:18-CV-8518-RGK-AFM
 11                   Plaintiff,              PLAINTIFF’S MEMORANDUM OF
                                              POINTS AND AUTHORITIES IN
 12          v.                               SUPPORT OF MOTION TO
                                              REOPEN CASE AFTER BREACH
 13   DILLARD’S, INC. a                       OF SETTLEMENT AGREEMENT
      Delaware Corporation;
 14   KOHL’S CORPORATION,                     Hon. R. Gary Klausner
      a Wisconsin Corporation;                United States District Court Judge
 15   SAKS & COMPANY LLC,                     Hearing Date: January 11, 2021
      a Delaware Corporation;                 Time: 9:00 a.m.
 16   TARGET BRANDS, INC. a                   Courtroom: 850, 255 E. Temple St.,
      Minnesota Corporation;                  Los Angeles, CA 90012
 17   EXPRESS, INC., a
      Delaware Corporation;
 18   TILLY’S, INC. a Delaware
      Corporation;
 19   NORDSTROM, INC., a Washington
      Corporation;
 20   WEST MARINE, INC., a Delaware
      Corporation,
 21   and
      ZULILY, INC. a
 22   Delaware Corporation.
 23                      Defendants.
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 28
                                                         PLAINTIFF’S MEMO. OF POINTS AND
                                                     AUTHORITIES ISO MTN. TO REOPEN CASE
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 1 I.      Introduction
 2         Due to a material breach of the settlement agreement entered into between
 3   the parties—specifically nonpayment by Defendants—Plaintiff Covves, LLC
 4   (“Covves”) moves to reopen this case and set a trial date for its unicorn design
 5   patent infringement claims. Reopening this case and allowing Covves’ claims to
 6   proceed is relief that was expressly contemplated under the terms of the settlement
 7   agreement. This Court has authority to grant that relief, and doing so is the only
 8   way to ensure the agreement is upheld and justice served.
 9 II.     Background
10         A.     Covves’ Suits Against BigMouth and Retailer Defendants
11         Covves owns U.S. Patent Nos. D787,617 and D783,370 for a unicorn pool
12   float and inflatable unicorn cupholder, respectively (the “patents-in-suit”). Covves
13   filed suit in this District in October 2018 against BigMouth Inc. and BigMouth LLC
14   (together, “BigMouth”) for manufacturing, importing, and distributing floats and
15   cupholders that infringe Covves’ patents-in-suit. [Dkt. 1] In the same action,
16   Covves also sued the retailers listed on the caption above (“Retailer Defendants”)
17   that were selling infringing products obtained from BigMouth. [See id.] BigMouth
18   disputed personal jurisdiction, which led Covves to sue BigMouth in the Southern
19   District of Indiana—BigMouth’s home court—while maintaining the suit against
20   Retailer Defendants here. See Declaration of Stephen McArthur (“McArthur
21   Decl.”) filed herewith, ¶ 2.
22         BigMouth indemnified and defended all Retailer Defendants. See McArthur
23   Decl. ¶ 3, Exhibit (“Ex.”) A. The defendants shared the same legal counsel at KL
24   Gates and coordinated responses to discovery and motions. BigMouth controlled all
25   aspects of the defense of both the Indiana and California actions. Id. ¶ 3.
26         After discovery, this Court granted summary judgment in Covves’ favor on
27   the validity of the patents-in-suit and denied Retailer Defendants’ motion for
28   summary judgment of noninfringement. [Dkt. 148] The parties filed motions in
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 1   limine, and at the pretrial conference on January 6, 2020, this Court tentatively
 2   granted Covves’ motions [Dkts. 136-140] and denied Retailer Defendants’ motions
 3   [Dkts. 133-134]. Then, just days before trial, the parties—Covves on one hand and
 4   BigMouth and Retailer Defendants on the other—executed a settlement agreement.
 5          B.    The Settlement Agreement
 6          Under the Settlement Agreement, BigMouth agreed to pay Covves a lump
 7   sum amount split into an initial payment (“Initial Payment”) payable upon
 8   execution, and then six equal quarterly payments (“Quarterly Payments”) of the
 9   remaining balance. See McArthur Decl. Ex. B § 1.1. In exchange, Covves agreed to
10   dismiss both the California and Indiana actions without prejudice, with each
11   respective court retaining jurisdiction to enforce the settlement agreement. Id. § 1.4,
12   Agrmt. Exs. 2, 3. The parties granted each other a release “[i]n consideration of the
13   full and faithful performance of the terms and conditions of this Agreement.” Id. §§
14   2.1, 2.2.
15          In the instance of a breach of the settlement agreement, the non-breaching
16   party was to give prompt written notice. Id. § 3.1. If the breach were not cured
17   within seven business days, the non-breaching party could initiate enforcement
18   proceedings. Id. Additional relief was expressly available to Covves:
19          If, after written notice of default, BigMouth is more than 30 days late
            on its Initial Payment or any one of its six Quarterly Payments of, then
20          Covves, at its option, may choose to reinstate and reopen the
            California Action and Indiana Action, including any and all claims and
21          requests for damages. In this event, the Settlement Payment made to
            Covves will be considered accrued against any judgment in the Indiana
22          Action and shall not be counted or accrued against any judgment in the
            California Action. This remedy is in addition to any other remedies
23          that may be available to Covves.
24   Id. § 3.3.
25          After the parties signed the settlement agreement, Covves filed a notice of
26   voluntary dismissal in accordance with section 1.4, dismissing the case against
27   Retailer Defendants without prejudice and expressly stating this Court retained
28   jurisdiction to enforce the settlement agreement. [Dkt. 179]
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 1          C.     BigMouth Breaches the Settlement Agreement
 2          BigMouth paid Covves the Initial Payment. McArthur Decl. ¶ 5. However,
 3    BigMouth failed to make the first Quarterly Payment, which was due September
 4    30, 2020. See id.; Ex. B § 1.1. Covves sent a notice of default as contemplated by
 5    the settlement agreement on October 6, 2020, and Defendants’ counsel, Mr.
 6    Nickerson, confirmed receipt the following day. See id. ¶ 6, Ex. C.
 7          In a subsequent phone call, Mr. Nickerson stated he no longer represented
 8    BigMouth but still represented Retailer Defendants. Id. ¶ 7. Covves therefore
 9    contacted BigMouth’s new counsel, who informed Covves’ counsel that BigMouth
10    had been taken into receivership by an Indiana court and would not pay the
11    settlement amount owed. Id. BigMouth’s counsel represented that BigMouth will
12    not pay Covves the remaining six Quarterly Payments owed under the settlement
13    agreement. Id. That is corroborated by media reports. See id. ¶ 8, Ex. D. The
14    Indiana court handling the receivership proceedings has also issued a stay barring
15    third parties such as Covves from filing suit against BigMouth and barring
16    BigMouth from engaging in litigation against third parties. Id. ¶ 9. Thus, Covves
17    has no recourse but to reopen the case against Retailer Defendants for infringement
18    of the patents-in-suit, as contemplated by section 3.3 of the settlement agreement.
19   III.   Reopening the Case is the Proper Relief
20          The parties intended that the instant case could be reinstated by Covves if
21    BigMouth did not pay the agreed-upon settlement amount. That has now happened,
22    and reopening the case and setting a trial date is proper.
23          A.     The Agreement Permits Granting Relief to Reinstate the Case
24          Covves seeks relief from the stipulation of voluntary dismissal without
25    prejudice and reopening of this case. Under § 3.3 of the settlement agreement, that
26    relief is expressly permitted if—as has now happened—BigMouth fails to make
27    required settlement payments. Both the terms of the settlement agreement, § 1.4,
28    and the stipulation of dismissal, Dkt. 179, demonstrate the parties’ intent that this
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 1   Court retain jurisdiction to grant reinstatement of the case. This issue is thus cut-
 2   and-dried—the Court has authority to reopen this case and to relieve Covves from
 3   the voluntary dismissal on the ground that BigMouth has breached the agreement
 4   by failing to make required settlement payments, and Defendants agreed to reopen
 5   the case if Bigmouth breached in such manner. Covves requests that the Court take
 6   such action promptly to allow the infringement claims to proceed.
 7         B.     The Federal Rules Permit Reopening This Case
 8         Even if the Court were to find it lacked jurisdiction to enforce the settlement
 9   agreement, it still has jurisdiction and authority to grant relief from the dismissal
10   and reopen the case under Rule 60(b) of the Federal Rules of Civil Procedure.
11   “Rule 60 regulates the procedures by which a party may obtain relief from a final
12   judgment . . . [t]he rule attempts to strike a proper balance between the conflicting
13   principles that litigation must be brought to an end and that justice should be done.”
14   Delay v. Gordon, 475 F.3d 1039, 1044 (9th Cir. 2007).
15         Rule 60(b)(6) is a catchall provision that allows the Court to grant relief from
16   a dismissal order for “any other reason that justifies relief.” Fed. R. Civ. P.
17   60(b)(6). It is well established in the Ninth Circuit that “[r]epudiation of a
18   settlement agreement that terminated litigation pending before a court constitutes an
19   extraordinary circumstances, and it justifies vacating the court’s prior dismissal
20   order.” Keeling v. Sheet Metal Workers Intern. Ass’n, 937 F.2d 408, 410 (9th Cir.
21   1991). In Keeling, the Ninth Circuit affirmed the trial court’s decision vacating a
22   dismissal order under Rule 60(b)(6) and reinstating the case after finding
23   “repudiation or ‘complete frustration’ of the settlement agreement.” Id. at 410-11.
24   A federal court does not need an independent basis for jurisdiction to reopen a
25   dismissed suit by reason of breach of the agreement that was the basis for dismissal.
26   See id.; Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 378 (1994).
27         Here, Covves seeks exactly that—relief from the voluntary dismissal without
28   prejudice and reopening of this case to allow Covves’ patent infringement claims to
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 1   proceed to trial. Covves has no other option. BigMouth’s failure to pay settlement
 2   amounts owed has frustrated Covves from obtaining the benefit of the bargain with
 3   Defendants. Even if Covves were able to pursue a contract action against BigMouth
 4   for breach in the face of the Indiana court’s receivership stay, Covves would at
 5   most end up with a judgment that it could not enforce due to BigMouth’s
 6   insolvency. Covves has been injured by BigMouth’s material breach and complete
 7   repudiation of the settlement agreement, and those circumstances were beyond
 8   Covves’ control. It is therefore proper for the Court under Rule 60(b)(6) to vacate
 9   the dismissal stipulation and reopen this case. See Keeling, 937 F.2d at 410-11.
10         Other sections of Rule 60(b) would also allow reinstatement, as Covves is
11   filing this motion less than one year after the dismissal was entered. See Fed. R.
12   Civ. P. 60(c) (stating motions under Rule 60(b)(1), (2), and (3) must be filed no
13   more than one year after entry of the order, while a Rule 60(b) motion must simply
14   be made “within a reasonable time”). BigMouth’s failure to pay amounts owed
15   could be characterized as “surprise” to Covves, warranting relief under Rule
16   60(b)(1). Further, the facts regarding BigMouth’s insolvency and receivership,
17   along with the failures to pay, constitute newly discovered evidence that could not
18   have been raised before, warranting relief under Rule 60(b)(2). And BigMouth’s
19   actions constitute misconduct, along with—if BigMouth knew it could not pay at
20   the time of settlement but agreed anyway—misrepresentation, under Rule 60(b)(3).
21   It appears under Ninth Circuit precedent that Rule 60(b)(6) is the proper means for
22   Covves to obtain relief from the dismissal order and reopen this case. However, the
23   other parts of Rule 60(b) support the same relief as well. Covves therefore
24   respectfully requests that the Court reopen this case and set a date for trial.
25   IV.   Covves Only Requests Reinstating the Case as to Target, the Primary
           Retail Infringer
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27         If this Court agrees to grant Covves’ requested relief, Covves further asks
28   that this case be reopened only as to Defendant Target Brands, Inc. (“Target”).
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 1   Doing so will simplify the proceedings and streamline trial.
 2         During the course of discovery, Covves learned that Target alone has 98
 3   percent of the sales of the accused pool floats and cupholders, compared to all the
 4   other Retailer Defendants combined having just two percent of total sales. [See Dkt.
 5   110-1 at 19 (listing each entity’s profits on infringing sales)] While Covves made
 6   very low settlement offers to the non-Target Retailer Defendants with minimal
 7   sales, BigMouth acted for Retail Defendants and rejected all individual settlement
 8   offers. McArthur Decl. ¶ 10.
 9         There is no doubt the main retail infringer is Target. Target individually
10   signed the settlement agreement and was clearly in agreement with the term that, if
11   BigMouth failed to pay, the suit in this Court against Target could be reopened. In
12   order to streamline trial and reduce the number of necessary witnesses and exhibits,
13   Covves’ infringement claims against Target should be allowed to proceed, while
14   the case can remain closed as to other Retailer Defendants. Covves therefore
15   respectfully requests that the Court follow the parties’ settlement agreement terms
16   and the Federal Rules and reopen this case and set a date for trial of Covves’ claims
17   against Target.
18                                         Conclusion
19         This Court retained jurisdiction under the settlement agreement and dismissal
20   order to enforce the agreement’s terms, one of which specifically contemplated
21   reopening this case upon breach of BigMouth’s payment obligations. Even if the
22   Court did not retain jurisdiction under the settlement agreement, Rule 60(b) allows
23   the Court to reopen the case based on the breach of the agreement that led to the
24   case’s dismissal. If the Court grants Covves’ request, in order to handle the trial
25   more efficiently and expeditiously, Covves asks to reopen the case as to Defendant
26   Target alone, as Target is by far the most significant retail infringer. Failing to grant
27   this relief would rob Covves of the benefit of its bargain in the settlement
28   agreement and wipe out Covves’ valid patent infringement claims.
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 1

 2   Dated: November 20, 2020           Respectfully submitted
 3                                      THE MCARTHUR LAW FIRM, PC
 4
                                        By /s/ Stephen McArthur
 5
                                        Stephen C. McArthur
 6                                      Thomas E. Dietrich
 7                                      Attorneys for Plaintiff Covves, LLC
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 1                              CERTIFICATE OF SERVICE
 2   Case Name: Covves, LLC v. Dillard’s, Inc. et al.
     Case No.: 2:18-cv-8518-RGK-AFM
 3

 4   IT IS HEREBY CERTIFIED THAT:
 5
            I, the undersigned, declare under penalty of perjury that I am a citizen of the
 6   United States over 18 years of age. My business address is 9465 Wilshire Blvd.,
     Ste. 300, Beverly Hills, CA 90212. I am not a party to the above-entitled action.
 7
              I have caused service of the following documents, described as:
 8
       PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN
 9     SUPPORT OF MOTION TO REOPEN CASE AFTER BREACH OF
       SETTLEMENT AGREEMENT
10
     on the following parties by electronically filing the foregoing on November 19,
11   2020, with the Clerk of the District Court using its ECF System, which
     electronically notifies them.
12
     Morgan Nickerson                        Attorneys for Defendants
13   K&L Gates LLP
     Morgan.Nickerson@klgates.com
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     Boston, MA 02111
15
     Caitlin C. Blanche
16   K&L Gates LLP
     caitlin.blanche@klgates.com
17   1 Park Plaza, 12th Floor
     Irvine, CA 92618
18
     I declare under penalty of perjury under the laws of the State of California that the
19   foregoing is true and correct.
20

21
      Date:     11/20/2020               By: /s/ Stephen McArthur
22                                           Stephen McArthur
23

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                                                               PLAINTIFF’S MEMO. OF POINTS AND
                                                           AUTHORITIES ISO MTN. TO REOPEN CASE
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